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PLAINTIFF,
ROSE, TRAVIS

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Case No. 3:13cv419 (MPS) ot
Vv.
DEFENDANTS,

MOST REVEREND JOHN J. MYERS AND MEMERS OF THE BOARD OF TRUSTEES
(16MEMEMBERS )
ARCHBISHOP OF NEWARK, NEW JERSEY

171 CLIFTON AVENUE, NEWARK, NEW JERSEY
Monsignor James M. Cafone, Pamela M.Swartzberg, Esq, Most Reverend
Arthur J. Serratelli, Mr. Robert E. Baidini, Monsignor John Doran, Dr.
A. Gabriel Esteban, Dr. Phillip Frese, Mr. Francis J. Hager, Mr.
Phillip N. Maisano, Mr. Patrick M. Murray, Mrs. Donna o’ Brien,
Reverend Mark O’Malley,

Monsignor Joseph R. Reilly, Mr. Bruce Tomason, Monsignor Robert
Wister

CATHY KIERNAN

SETON HALL UNIVERSITY

400 SOUTH. ORANGE AVENUE

SOUTH ORANGE, Nd 07979

Pons N che A Comp \ amt

A. PARTIES

Travis Rose is a citizen of Connecticut who presently resides at 111
Pine Lane, Windsor, Connecticut 06095.

Defendant John J. Myers and members of the board of trustees are
citizens of New Jersey, whose address is 171 Clifton Avenue, Newark.

B. JURISDICTION

The jurisdiction of this court is invoked pursuant to (list statue(s)

because this is, a federal violation of student rights under federal
law pertaining to title VI of the Civil Rights Act of 1964 prohibits
discrimination based on race, color or national origin in programs or
activities receiving federal financial assistance. All federal
agencies that provided grants of assistance are required to enforce
the Title VI regulation. The U.S. Department of Education gives grants
of financial assistance to schools (Seton Hall University) and
colleges and to certain other entities, including vocational
rehabilitation programs. The Title VI regulation describes the conduct
that violates Title VI. The issue of racial harassment, school
segregation based on academic class fraud entailing a component of

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race and the denial of languages services to national origin-minority
Student who are limited in their English. Note Travis Rose was born jin
Guyana, South America and is a native Indian person. English is Travis
Rose second language and he was denied service at Seton Hall
University Bursar office in person regarding the ability to address
the violation of the schools bylaws. This is a violation in the Code
of Federal Regulations at 34 CFR 100 under title VI of the Civil
Rights Act of 1964.

List of Statue(s)
Authority: Sec. 601, Civil Rights Act of 1964; 78 Stat. 252; 42 U.S.C. 2000d
Authority: Secs. 602, 604, Civil Rights Act of 1964; 78 Stat. 252, 253; 42 U.S.C. 2000d-1, 2000d-3
Work-study under the Vocational Education Act of 1963, as amended, 20 U.S.C. 1371-1374
Authority: Sec. 601, 602, 604, Civil Rights Act of 1964; 78 Stat. 252, 253, 42 U.S.C. 2000d, 2000d-1,
2000d-3
Authority: Sec. 601, 602, Civil Rights Act of 1964; 78 Stat. 252; 42 U.S.C. 2000d, 2000d-1. Sec. 182; 80
Stat. 1209; 42 U.S.C. 2000d-5
Authority: Sec. 601, 602, Civil Rights Act of 1964; 78 Stat. 252; 42 U.S.C. 2000d, 2000d-1
Authority: Sec. 601, 602, Civil Rights Act of 1964; 78 Stat. 252; 42 U.S.C. 2000d, 2000d-1
Authority: Sec. 602, Civil Rights Act of 1964; 78 Stat. 252; 42 U.S.C. 2000d-1

C.NATURE OF THIS CASE

I (Travis Rose) attended a joint graduate allied health program at
Seton Hall University and University of Medicine and Dentistry of New
Jersey (UMDNJ) in which the director (Joseph Thornton) of the
Physician Assistant program was caught in the act of fraud. The fraud
entailed wrongful calculation of my grade point average based on the
clinical rotation grades provided by medical doctors on rotations. He
also altered my educational transcripts jin order to fabricate an
argument with the Chairperson of the department of Medicine (Doctor
Mark Johnson) on behalf of other students who had failed their
clinical rotations. In addition, my academic transcripts when compared
to classmates indicated that I was repeating courses that I had
previously passed with A grades. My fellow students who failed their
clinical rotations never had to repeat any courses and their grades
where changed from an F grades to A grades. Secondly, students were
caught plagiarizing on clinical graded rotations, which are grounds
for academic dismissal. I (Travis Rose) was wrongly terminated from
the program. As result of the evidence collected, the program was
terminated and no joint school degrees were.awarded to any students. I
received a partial refund from one school (University of Medicine and
Dentistry).

D. CAUSE OF ACTION

I allege that the following of my constitutional rights, privileges,
or immunities or my rights under a federal statute Code of Federal

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Regulations at 34 CFR 100 under title VI of the Civil Rights Act of
1964 have been violated and that the following facts form the basis of
my allegations:

Claim I:

The evidence collected by Doctor Mark S. dohnson indicates a well-
planned fraud with a series of actions by members of the teaching
Staff at Seton Hall University award grades to place Travis Rose in a
scheme to which he was awarded grades to create a reality that he was
inappropriate person for this medical profession. This scheme entailed
a distribution of grades to create a comparison model to which was
vital to allow Joseph Thornton to exploit via fabricating grades of
other students in an attempt to defraud Doctor Mark S Johnson and the
University of Medicine and Dentistry school that award the degrees.

Claim II:

I wrote a letter to John J Myers and the board of trustee seeking a
total refund from Seton Hall University to which I was denied based
upon the Bylaws of the school being violated by Joseph Thornton. In
addition signatures of the 16 members of Board are absent along with
Doctor Mark S. Johnson.

SUPPORTING FACTS

1. Travis Rose’s civil rights were violated because the schools Bylaws
policies and procedures clearly demonstrate that the goal of the
institution is to educate the student to obtain a joint degree in
Physician Assistant field of profession. The violation occurred
because Joseph Thornton was caught using two grading policies among
former students versus Travis Rose. In my compliant to John J Myers, I
want the board to have a discussion on the entire issue with Doctor
Mark S. Johnson present to demonstrate what transpired and _ the
evidence collected around the time of October -November of 2001. The
compliant was sent to John J. Myers in August 16 2012.

1B. Doctor Mark S. Johnson sent the evidence to Duke University
founder of the Physician Assistant profession-Eugene Stead Jr. M.D of
Emory University. Short after seeking out a new school to attend I was
invited to Duke University open house information summary program.
This is where I met and conversed with Eugene Stead Jr. M.D. about the
evidence collected against Seton Hall University and was informed
about the case load of documented academic issues of fraud in the past
involving other students which has led to tarnished school brand. I
travel to Duke University around the time of the year 2008.

2. Failure of the Board of Trustees member to plan and implement a
meeting among all 16 members of the board of trustees to avoid

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internal bias in order to render a fair procedure excluding university
employees of Seton Hall University for a student grievance. In other
words, there is bias issue presented when John J. Myers consulted the
members of the school administration. The school administration is
bias on the issue because they have taken the issue to defend against
the allegations that Doctor Mark S Johnson deemed the education
courses unfit for any student to be awarded a joint degree.

Section I: Purpose within University By-Laws rules and regulation was
violated because the school has no means of awarding a joint degree
thus this condition jis the bases of a total refund.

3. According to the Bylaws all students enrolled are granted the
privilege to be awarded a degree under the mission statement. The
evidence collected by Doctor Mark S. Johnson indicated a fraud, yet
the distribution of the patterns of grades awarded did not benefit
Travis Rose although he passed alli courses. There is a condition to
which the grades when compared to Mr. Rose’s grades demographic
indicated a scheme to create a fabricate reality to deem his
classmates as more professional and worthy of their degrees. There js
an issue of academic transcript fraud demonstrating abandonment on
behalf of Seton Hall to implement a resolution against non-awarding of
joint Master’s degree or refund and/or restoration of educational
opportunity at another university of choice with tuition reimbursement
to benefit Travis Rose.

4. The opportunity for fair review by the Board of Trustee 16 members
to voice his grievance on the issue of restoration of transcript
defects and educational opportunity lost is factual because their
Signatures are absent from the response letter of the Archbishop Myers
dated August 16 2012.

The lack of citing the Bylaws to explain and to correct the issue of
Tost educational opportunity according to Joseph Thornton actions
which entail awarding grades in courses to which led up to the
condition of academic dismissal to which Joseph Thornton further
commits fraud and is caught. In addition, students’ plagiarizing
conduct indicates a fundamental issue of one party being promoted at
the expense on one selected student. Now, remember plagiarizing is a
condition for academic dismissal. Thus on review of the Bylaws there
is a condition in which Travis Rose’s civil rights were violated in
the reading and interpretation of the Bylaws. This is because the
University Bylaws privileges are impaired or unevenly distributed.

9. No corrective action taken by Seton Hall University to implement
University Bylaws and create a resolution to which Travis Rose can
obtain a refund and or seek restitution of academic credits with
another university. No corrective actions taken against Professor

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Joseph Thornton a Seton Hall employee-member of graduate school to
correct grading policies across classroom demographics, clinical UMDNJ
assessment assignments grades and their final grade point average
(GPA) calculations evenly distributed across every student. No
corrective action against the unfair academic dismal policy which
violates Travis Rose’ civil rights pertaining to the school’s Bylaws
yet in comparison to issue of classmates failing courses and
performing academic plagiarisms, which led to another opportunity.
Thus, the practice of using the schools bylaws in consistent and
evenly manner with all students of the program is absent. There is
clearly a practice defect of not promoting the University’s Bylaws
first and uttermost.

Claim III

WAIVER TO STATUE OF LIMITATIONS

The plaintiff Travis Rose is filing as part of his general form
against John J. Myers and board of Trustees for Seton Hall University
a waiver to dismiss the statute of limitations on Civil Rights
violation in the Code of Federal Regulations at 34 CFR 100, fraud,
breach of contract, neglect and Abandonment. I hereby cite Haines v.
Kerner, 404 U.S. 519, 520 (1972)

Prisoner's pro se complaint seeking to recover damages for claimed
physical injuries and deprivation of rights in imposing disciplinary
confinement should not have been dismissed without affording him the
opportunity to present evidence on his claims.

Petitioner, an inmate at the Illinois State Penitentiary, Menard,
Illinois, commenced this action against the Governor of Illinois and
other state officers and prison officials under the Civil Rights Act
of 1871, 17 Stat. 13, 42 U.S.C. § 1983, and 28 U.S.C. § 1343(3),
seeking to recover damages for claimed injuries and deprivation of
rights while incarcerated under a judgment not challenged here.

Petitioner's pro se complaint Travis Rose was premised on alleged
action of prison officials placing him in confinement as a
disciplinary measure after he had allegedly struck co-worker on
the head-ear region with his fist following a verbal altercation.
The assault by petitioner (Travis Rose) on another co-worker is
not denied yet forensic science demonstrated Travis Rose was not
the causal agent with regards to the mechanism of injury as
alleged by the plaintiff’s original compliant at Fort Dix, New
Jersey magistrate court. Petitioner's pro se complaint (Travis

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Rose) included general allegations of physical injuries suffered
to the head-brain trauma and facial nerve trauma while in
disciplinary confinement-probation period and denial of due
process in the steps leading to that confinement and probation
period. This head-brain trauma causes memory disability, which
was treated with neurological medication-Gabapentin 100 mg aka
(Neurontin). The claimed physical suffering was aggravation of
sequences of actions in which the plaintiff in the original case
was acting on behalf of Seton Hall University in violation of
Intimidatory or retaliatory acts prohibited, No recipient or
other person shall intimidate, threaten, coerce, or discriminate
against any individual for the purpose of interfering with any
right or privilege secured by section 601 of the Act or this
part, or because he has made a complaint, testified, assisted, or
participated in any manner in an investigation, proceeding or
hearing under this part. The identity of complainants shall be
kept confidential except to the extent necessary to carry out the
purposes of this part, including the conduct of any
investigation, hearing, or judicial proceeding arising
thereunder. (Authority: Sec. 601, 602, Civil Rights Act of 1964;
78 Stat. 252; 42 U.S.C. 2000d, 2000d-1).

F. REQUEST FOR RELIEF

The pleader is entitled to relief based upon the evidence collected by
Chairperson Doctor Mark S. Johnson. The evidence demonstrates, former
employee Joseph Thornton-director of the Physician Assistant program-a
Seton Hall employee acted with intentions to academically shape with
means to inflict fraud by transmitting altered academic transcripts,
wrongly calculated GPA, wrongly calculated course/clinical grades in
order to defraud the degree awarding institution (UMDNJ). In doing
so, he violated University Bylaws pertaining to Travis Rose. I am
entitled to relief based upon the violation of federal statute Code of
Federal Regulations at 34 CFR 100 under title VI of the Civil Rights
Act of 1964.

Wherefore, plaintiff demands (state the relief you seek)

1. I seek four million and one hundred thousand US-dollars for the
violation of my civil rights.

2. I seek full tuition reimbursement from Seton Hall University and
for expenses associated with NJ Class Loans.

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3. I seek full restitution for loss of educational opportunity in
which Seton Hall University pays for the entire Columbia University JD
and MBA academic program cost.

4. I seek full restitution associated with school supplies, living,
transportation and housing expenses that are out-of-pocket cost.

E.OTHER LAWSUITS
Have you begun other lawsuits in state or federal court dealing with
the same facts involved in this action? Answer is NO.
No previous parties or lawsuits and no docket number.
I have never filed any other lawsuits in this court in the last ten
years that are not related to acts complained of in Part D and E.

G. JURY DEMAND
Do you wish to have a jury trial? NO

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Plaintiff’s Original Signature

Travis Rose
Printed Name

111 Pine Lane, Windsor, Connecticut 06095 - 860-683-2867
Plaintiff’s full address and telephone

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares penalty of perjury that he / she js the
plaintiff in the above action, that he/ she has read the above
complaint and that the information contained in the complaint is true
and correct. 28 U.S.C. 1746 ; 18 U.S.C. 1621

Executed at on
(location) (date)

—=—— ,?>
Meets A. A oot.

Plaintiff’s Original Signature

 

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